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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MARIO TRICOCI HAIR SALONS &     )
DAY SPAS, LLC d/b/a Tricoci Salon and
                                )
Spa, an Illinois corporation    )
AGENCY, INC.,                   )                   Case No. 20-cv-07196
                       Plaintiff,
                                )
                                )                   Honorable Matthew F. Kennelly
          v.                    )
                                )
CLAUDIA POCCIA and MOLLY SLOAT, )
                                )
                Defendants.     )

                              Agreed Confidentiality Order

       The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

       1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject

to this Order concerning Confidential Information as defined below. This Order is subject to

the Local Rules of this District and the Federal Rules of Civil Procedure on matters of

procedure and calculation of time periods.

       2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER”

by the producing party that falls within one or more of the following categories: (a)

information prohibited from disclosure by statute; (b) information that reveals trade secrets; (c)

research, technical, commercial, strategy, sales, product, marketing, or financial information

that the party or a third-party has maintained as confidential;        (d) medical information

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concerning any individual; (e) personal identity information; (f) income tax returns (including

attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or employment

records of a person who is not a party to the case; or (h) personal information of a person who

is not a party to the case. Information or documents that are available to the public may not be

designated as Confidential Information.

       3.      Designation.

               (a)    A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT

TO PROTECTIVE ORDER” on the document and on all copies in a manner that will not

interfere with the legibility of the document.       As used in this Order, “copies” includes

electronic images, duplicates, extracts, summaries or descriptions that contain the Confidential

Information. The marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall

be applied prior to or at the time the documents are produced or disclosed. Applying the

marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not

mean that the document has any status or protection by statute or otherwise except to the

extent and for the purposes of this Order. Any copies that are made of any documents marked

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except

that indices, electronic databases or lists of documents that do not contain substantial portions

or images of the text of marked documents and do not otherwise disclose the substance of the

Confidential Information are not required to be marked.

               (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this Order.

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         4.     Depositions.

         Unless all parties agree on the record at the time the deposition testimony is taken, all

deposition testimony taken in this case shall be treated as Confidential Information until the

expiration of the following: No later than the fourteenth day after the transcript is delivered to

any party or the witness, and in no event later than 60 days after the testimony was given.

Within this time period, a party may serve a Notice of Designation to all parties of record as to

specific portions of the testimony that are designated Confidential Information, and thereafter

only those portions identified in the Notice of Designation shall be protected by the terms of

this Order. The failure to serve a timely Notice of Designation shall waive any designation of

testimony taken in that deposition as Confidential Information, unless otherwise ordered by the

Court.

         5.     Protection of Confidential Material.

                (a)     General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

                (b)     Limited Third-Party Disclosures.       The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the

following categories of persons may be allowed to review Confidential Information:

                (1)     Counsel. Counsel for the parties and employees of counsel who have
                        responsibility for the action;

                (2)     Parties. Individual parties and employees of a party but only to the
                        extent counsel determines in good faith that the employee’s assistance is
                        reasonably necessary to the conduct of the litigation in which the
                        information is disclosed;
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               (3)    The Court and its personnel;

               (4)    Court Reporters and Recorders.       Court reporters and recorders
                      engaged for depositions;

               (5)    Contractors. Those persons specifically engaged for the limited
                      purpose of making copies of documents or organizing or processing
                      documents, including outside vendors hired to process electronically
                      stored documents;

               (6)    Consultants and Experts. Consultants, investigators, or experts
                      employed by the parties or counsel for the parties to assist in the
                      preparation and trial of this action but only after such persons have
                      completed the certification contained in Attachment A,
                      Acknowledgment of Understanding and Agreement to Be Bound;

               (7)    Witnesses at Depositions. During their depositions, witnesses in this
                      action to whom disclosure is reasonably necessary. Witnesses shall not
                      retain a copy of documents containing Confidential Information, except
                      witnesses may receive a copy of all exhibits marked at their depositions
                      in connection with review of the transcripts. Pages of transcribed
                      deposition testimony or exhibits to depositions that are designated as
                      Confidential Information pursuant to the process set out in this Order
                      must be separately bound by the court reporter and may not be disclosed
                      to anyone except as permitted under this Order.

               (8)    Author or recipient. The author or recipient of the document (not
                      including a person who received the document in the course of
                      litigation); and

               (9)    Others by Consent. Other persons only by written consent of the
                      producing party or upon order of the Court and on such conditions as
                      may be agreed or ordered.

               (c)    Control of Documents.       Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

Information.   Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the

termination of the case.


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       6.      Inadvertent Failure to Designate.        An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so

designate the document; provided, however, that a failure to serve a timely Notice of

Designation of deposition testimony as required by this Order, even if inadvertent, waives any

protection for deposition testimony. If a party designates a document as Confidential

Information after it was initially produced, the receiving party, on notification of the

designation, must make a reasonable effort to assure that the document is treated in

accordance with the provisions of this Order. No party shall be found to have violated this

Order for failing to maintain the confidentiality of material during a time when that material

has not been designated Confidential Information, even where the failure to so designate was

inadvertent and where the material is subsequently designated Confidential Information.

       7.      Filing of Confidential Information.          This Order does not, by itself,

authorize the filing of any document under seal. Any party wishing to file a document

designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with LR 26.2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

order providing such special protection.

       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge

by any party. The following procedure shall apply to any such challenge.



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               (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis

for its belief that the confidentiality designation was not proper and must give the designating

party an opportunity to review the designated material, to reconsider the designation, and, if

no change in designation is offered, to explain the basis for the designation. The designating

party must respond to the challenge within five (5) business days.

               (b)    Judicial    Intervention.     A   party that    elects   to    challenge   a

confidentiality designation may file and serve a motion that identifies the challenged material

and sets forth in detail the basis for the challenge. Each such motion must be accompanied by

a competent declaration that affirms that the movant has complied with the meet and confer

requirements of this procedure. The burden of persuasion in any such challenge proceeding

shall be on the designating party. Until the Court rules on the challenge, all parties shall

continue to treat the materials as Confidential Information under the terms of this Order.

       10.     Action by the Court.     Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in

this Order or any action or agreement of a party under this Order limits the Court’s power to

make orders concerning the disclosure of documents produced in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial.               Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial

or hearing. A party that intends to present or that anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential

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Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

       12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

               (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action

as Confidential Information, the receiving party must so notify the designating party, in

writing, immediately and in no event more than three court days after receiving the subpoena

or order. Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the

material covered by the subpoena or order is the subject of this Order. In addition, the

receiving party must deliver a copy of this Order promptly to the party in the other action that

caused the subpoena to issue.

               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order issued.

The designating party shall bear the burden and the expense of seeking protection in that court

of its Confidential Information, and nothing in these provisions should be construed as

authorizing or encouraging a receiving party in this action to disobey a lawful directive from

another court. The obligations set forth in this paragraph remain in effect while the party has in

its possession, custody or control Confidential Information by the other party to this case.

       13.     Challenges by Members of the Public to Sealing Orders.               A party or

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interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

          14.   Obligations on Conclusion of Litigation.

                (a)   Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                (b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under

this Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless:

(1) the document has been offered into evidence or filed without restriction as to disclosure; (2)

the parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that

party elects to destroy the documents and certifies to the producing party that it has done so.

                (c)    Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent

litigation, provided that its use does not disclose or use Confidential Information.

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               (d)     Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal shall be deleted from the ECF system only upon

order of the Court.

         15.   Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other

person with standing concerning the subject matter.

         16.   No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

         17.   Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this

Order by its terms.

         So Ordered.



Dated:
2/9/21                                      U.S. District Judge




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WE SO MOVE                                   WE SO MOVE
and agree to abide by the                    and agree to abide by the
terms of this Order                          terms of this Order



Signature                                    Signature


Printed Name                                 Printed Name


Counsel for:                                 Counsel for:


Dated:                                       Dated:




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                                        ATTACHMENT A


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIO TRICOCI HAIR SALONS &     )
DAY SPAS, LLC d/b/a Tricoci Salon and
                                )
Spa, an Illinois corporation    )
AGENCY, INC.,                   )                   Case No. 20-cv-07196
                       Plaintiff,
                                )
                                )                   Honorable Matthew F. Kennelly
          v.                    )                   Hon. Mag. Gabriel A. Fuentes
                                )
CLAUDIA POCCIA and MOLLY SLOAT, )
                                )
                Defendants.     )


                                   ACKNOWLEDGMENT
                                         AND
                                 AGREEMENT TO BE BOUND


        The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated                                                  in the above-captioned action and attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Northern District of Illinois

in matters relating to the Confidentiality Order and understands that the terms of the

Confidentiality Order obligate him/her to use materials designated as Confidential Information in

accordance with the Order solely for the purposes of the above-captioned action, and not to

disclose any such Confidential Information to any other person, firm or concern.
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        The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.




Name:

Job Title:

Employer:

Business Address:




Date:

                                     Signature
